  Case 4:18-cv-00502-ALM Document 11 Filed 09/27/18 Page 1 of 7 PageID #: 61




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

KATHRYN L. BARKER,                                 §
    Plaintiff,                                     §
                                                   §
v.                                                 §            CIVIL ACTION NO. 4:18-cv-502
                                                   §
UHS OF TEXOMA, INC.                                §
d/b/a TEXOMA MEDICAL CENTER,                       §
       Defendant.                                  §


                   DEFENDANT’S MOTION TO COMPEL ARBITRATION

         In accordance with the Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq. and FED. R.

CIV. P. 12(b)(1), Defendant UHS of Texoma, Inc. d/b/a Texoma Medical Center (“Defendant” or

“Texoma”) files this Motion to Compel Arbitration. In support, Defendant shows the following.

                                  SUMMARY OF ARGUMENT

         Texoma files this motion because Plaintiff refuses to honor her arbitration agreement that

encompasses all of her employment-related claims in this lawsuit. Plaintiff accepted her arbitration

agreement with Texoma by reviewing the agreement’s terms and continuing to work for Texoma

after receiving notice of the arbitration agreement. Because she agreed to submit all disputes arising

from her employment with Texoma to binding arbitration, the Court lacks jurisdiction over

Plaintiff’s claims under FED. R. CIV. P. 12(b)(1), and this lawsuit should be dismissed or stayed until

such time as the parties fully arbitrate the disputes.

                                   FACTUAL BACKGROUND

         Plaintiff Kathryn L. Barker (“Plaintiff” or “Barker”) filed her Complaint on July 17, 2018,

alleging violations of the Age Discrimination in Employment Act of 1967 (“ADEA”), 29 U.S.C.

§ 621, et seq., the Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12101, et seq., and



DEFENDANT’S MOTION TO COMPEL ARBITRATION                                                        Page 1
4831-4447-4224.1
  Case 4:18-cv-00502-ALM Document 11 Filed 09/27/18 Page 2 of 7 PageID #: 62




the Family and Medical Leave Act (“FMLA”), 29 U.S.C. § 2601, et seq.

         In connection with her employment, Texoma required Barker to agree to an alternative

dispute resolution agreement, the Alternative Resolution of Conflicts Agreement (“ARC

Agreement”).1 The ARC Agreement contains an explicit requirement requiring Barker to arbitrate all:

         disputes regarding the employment relationship, compensation, breaks and rest
         periods, termination, or harassment and claims arising under the Civil Rights Act of
         1964, Americans With Disabilities Act, Age Discrimination in Employment Act,
         Family Medical Leave Act, Fair Labor Standards Act, Employee Retirement Income
         Security Act (except for claims for employee benefits under any benefit plan
         sponsored by the Company and covered by the Employee Retirement Income
         Security Act of 1974 or funded by insurance), Genetic Information Non-
         Discrimination Act, and state statutes, if any, addressing the same or similar subject
         matters, and all other state statutory and common law claims.2
         Barker completed Texoma’s online course explaining the ARC Agreement and procedures for

opting out of it on November 27, 2013.3 Barker never opted out of the ARC Agreement.4

                                  ARGUMENT AND AUTHORITIES

         A “two step” inquiry governs whether parties should be compelled to arbitrate.5 “First, courts

must determine whether the parties agreed to arbitrate the dispute.”6 The burden of establishing a

valid arbitration agreement falls on the party seeking to compel arbitration.7 The second step shifts

the burden to the parties opposing arbitration to demonstrate that the dispute does not fall within the

scope of the arbitration agreement or that the agreement is unenforceable.8


         1
             Exhibit 1 ¶ 5.
         2
             Exhibit 2 at ¶ 1.
         3
             Exhibit 2.
         4
             Exhibit 1 at ¶ 11.
         5
         Holmes v. Air Liquide USA LLC, 2012 U.S. Dist. LEXIS 10678; 2012 WL 267194 (S.D. Tex. 2012) (citing
Banc One Acceptance Corp. v. Hill, 367 F.3d 426, 429 (5th Cir. 2004)).
         6
             Id.
         7
             Id.
         8
             Id.



DEFENDANT’S MOTION TO COMPEL ARBITRATION                                                             Page 2
4831-4447-4224.1
  Case 4:18-cv-00502-ALM Document 11 Filed 09/27/18 Page 3 of 7 PageID #: 63




         Plaintiff entered into a binding arbitration agreement, enforceable under the Federal

Arbitration Act (“FAA”), by continuing her employment with Texoma after completing the course

Alternative Resolution of Conflicts.9 The FAA provides that:

         A written provision in any maritime transaction or a contract evidencing a transaction
         involving commerce to settle by arbitration a controversy thereafter arising out of
         such contract or transaction, or the refusal to perform the whole or any part thereof,
         or an agreement in writing to submit to arbitrating an existing controversy arising out
         of such a contract, transaction, or refusal, shall be valid, irrevocable, and enforceable,
         save upon such grounds as exist at law or in equity for the revocation of any
         contract.10

The FAA mandates the enforcement of arbitration agreement where such agreements are: (a) are part

of the contract or transaction involving commerce; and (b) valid under the general principles of

contract law.11 The arbitration agreement between Texoma and Barker satisfies these requirements.

         a.          Barker’s Employment Involved Commerce

         The U.S. Supreme Court has held that the FAA’s commerce clause reflects Congress’ intent

to extend the FAA’s coverage to the limits of federal power under the commerce clause.12 A matter

“involves” commerce under the FAA if it merely affects commerce.13 The U.S. Supreme Court has

specifically held that the FAA’s coverage extends to employment contracts that involve such

commerce.14 Courts have consistently held that the FAA applies to any agreement, unless the

contract at issue specifically disclaims its application.15

         b.          The ARC Agreement is Valid Under General Principles of Contract Law


         9
             Exhibit 3.
         10
              9 U.S.C. § 2.
         11
              Id.
         12
              See Doctor’s Assocs., Inc. v. Casarotto, 517 U.S. 681, 688 (1996).
         13
              Id.
         14
              See Circuit City Stores, Inc. v. Adams, 532 U.S. 105, 115-16 (2001).
         15
              See Volt Info. Sciences, Inc. v. Board of Trustees of Leland Stanford Jr. Univ., 489 U.S. 468, 475–76 (1989).



DEFENDANT’S MOTION TO COMPEL ARBITRATION                                                                           Page 3
4831-4447-4224.1
  Case 4:18-cv-00502-ALM Document 11 Filed 09/27/18 Page 4 of 7 PageID #: 64




         The Fifth Circuit has acknowledged “a strong national policy favoring arbitration of

disputes” and has stated that “all doubts concerning the arbitrability of claims should be resolved in

favor of arbitration.”16 In the employment law context, the Texas Supreme Court has held that,

where an employer may terminate the relationship at any time, it may also institute new conditions

of employment provided that employees receive notice of the conditions.17 An employee accepts the

new conditions by continuing his employment.18

         Here, Barker received notice of the ARC Agreement based on Certificate of Completion for

Texoma’s online course titled Alternative Resolution of Conflicts.19 The ARC Agreement contains

clear, definite terms that were communicated to Barker in writing and delivered electronically.20

Barker accepted the ARC Agreement’s terms in two ways. First, she completed Texoma’s online

course titled Alternative Resolution of Conflicts.21 This course provided information about Texoma’s

policy requiring alternative resolution of conflicts, including its opt-out policy.22 By completing the

course, Barker acknowledged that she received and had an opportunity to read the ARC Agreement,

including its opt-out provision. Second, Barker continued her employment after receiving a copy of

the ARC Agreement.23 By continuing to work for Texoma after receiving notice of the ARC

Agreement, Barker accepted the agreement to arbitrate as a matter of law.24


         16
              Wash. Mut. Fin. Group, L.L. C. v. Bailey, 364 F.3d 260, 263 (5th Cir. 2004).
        17
           See In re Haliburton Co., 80 S.W.3d 566, 572-73 (Tex. 2002) (citing Hathaway v. General Mills, Inc., 711
S.W.2d 227, 229 (Tex. 1986)).
         18
              Id.
         19
              Exhibit 1 at ¶ 8; Exhibit 2.
         20
              Exhibit 1 at ¶ 7.
         21
              Id. at ¶ 8.
         22
              Id. at ¶ 9.
         23
              Id. at ¶ 12.
         24
            See Halliburton, 80 S.W.3d at 569; Johnson v. Coca-Cola Refreshments USA, Inc., No. 4:11-cv-649, 2012
U.S. Dist. LEXIS 26994 at *11 (E.D. Tex. Feb. 3, 2012) (“After notice, Plaintiff continued to work for Defendant, which
         Footnote continued on next page . . .

DEFENDANT’S MOTION TO COMPEL ARBITRATION                                                                       Page 4
4831-4447-4224.1
  Case 4:18-cv-00502-ALM Document 11 Filed 09/27/18 Page 5 of 7 PageID #: 65




         c.          Plaintiff’s Claims are Within the Scope of the Arbitration Clause

         In determining whether a dispute falls within the scope of the arbitration agreement, any

ambiguities are “resolved in favor of arbitration.”25 In this matter, there is truly no ambiguity.

Plaintiff’s claims brought under the ADEA, ADA, and FMLA are explicitly covered by the ARC

Agreement.26 Because the ARC Agreement explicitly covers Barker’s claims and the parties, the

existence of a valid and enforceable arbitration agreement that covers the subject matter of this

lawsuit cannot be denied. Accordingly, the Court has no discretion but to dismiss this case and order

Barker to arbitrate her claims against Texoma.27

         d.          Defendant is Entitled to an Order Compelling Plaintiff to Arbitrate Her Claims

         The FAA mandates the enforcement of arbitration agreements. Section 4 of the FAA

authorizes a party aggrieved by another’s failure to abide by its legal obligation to petition a court for

an order compelling compliance.28 The FAA mandates that courts direct the parties to proceed to

arbitration on issues as to which an agreement exists, affording no discretion on this issue.29

                                        CONCLUSION AND PRAYER

         For the foregoing reasons, Defendant requests that the Court compel arbitration and dismiss

or stay this case in accordance with the Federal Arbitration Act and FED. R. CIV. P. 12(b)(1).


         . . . Footnote continued from previous page:
indicates his acceptance of the change in his employment relationship and indicates his agreement to be bound by the
[arbitration agreement]”). See also Burton v. Citigroup, No. 3-03-CV-3033-M, 2004 U.S. Dist. LEXIS 10627 at *12
(N.D. Tex. June 9, 2004) (“whether plaintiff signed any particular document is irrelevant [because he] manifested [his]
acceptance as a matter of law by continuing to work for [defendant] after notification that the arbitration policy would be
implemented”).
         25
           See Fleetwood Enterprises, Inc. v. Gaskamp, 280 F.3d 1069, 1073 (5th Cir. 2002) (citing Volt Information
Science v. Board of Trustees, 489 U.S. 468, 476 (1989)).
         26
              Exhibit 2 at ¶ 1.
         27
              See Goodwin, 924 S.W.2d at 944.
         28
              9 U.S.C. § 4.
         29
              9 U.S.C. § 3-4. See Alford v. Dean Witter Reynolds, 975 F.2d 1161, 1164 (5th Cir. 1992).



DEFENDANT’S MOTION TO COMPEL ARBITRATION                                                                           Page 5
4831-4447-4224.1
  Case 4:18-cv-00502-ALM Document 11 Filed 09/27/18 Page 6 of 7 PageID #: 66




                                    Respectfully submitted,

                                    LEWIS BRISBOIS BISGAARD & SMITH LLP


                                    /s/ Tracy Graves Wolf
                                    Tracy Graves Wolf
                                    State Bar No. 24004994
                                    Tracy.Wolf@lewisbrisbois.com
                                    Brent Sedge
                                    State Bar No. 24082120
                                    Brent.Sedge@lewisbrisbois.com

                                    2100 Ross Avenue, Suite 2000
                                    Dallas, Texas 75201
                                    214.722.7100 - Main
                                    214.722.7111 - Fax

                                    ATTORNEYS FOR DEFENDANT
                                    UHS OF TEXOMA, INC. d/b/a
                                    TEXOMA MEDICAL CENTER




DEFENDANT’S MOTION TO COMPEL ARBITRATION                                Page 6
4831-4447-4224.1
  Case 4:18-cv-00502-ALM Document 11 Filed 09/27/18 Page 7 of 7 PageID #: 67




                              CERTIFICATE OF SERVICE

       I certify that the foregoing document was served on all parties via CM/ECF on September
27, 2018:

                                           /s/ Brent Sedge
                                           Brent Sedge




DEFENDANT’S MOTION TO COMPEL ARBITRATION                                                Page 7
4831-4447-4224.1
